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                    BEFORE THE UNITED STATES JUDICIAL PANEL
                         ON MULTI-DISTRICT LITIGATION

 IN RE: Roundup Products Liability
 Litigation                                                                        MDL No. 2741

                                     PROOF OF SERVICE

       In compliance with Rule 4.1(a) of the Rules of Procedure for the United States Judicial

Panel on Multidistrict Litigation, I hereby certify that copies of the foregoing Withdrawal of Filing

and this Proof of Service were served by Email on July 28, 2021 to the following:

Gilmore v. Monsanto Company, D. Delaware, Case No. 1:20-cv-01085-MN

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